Case 18-59231-wlh   Doc 1   Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 1 of 11
Case 18-59231-wlh   Doc 1   Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 2 of 11
Case 18-59231-wlh   Doc 1   Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 3 of 11
Case 18-59231-wlh   Doc 1   Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 4 of 11
Case 18-59231-wlh   Doc 1   Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 5 of 11
Case 18-59231-wlh   Doc 1   Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 6 of 11
Case 18-59231-wlh   Doc 1   Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 7 of 11
Case 18-59231-wlh   Doc 1   Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 8 of 11
Case 18-59231-wlh   Doc 1   Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 9 of 11
Case 18-59231-wlh   Doc 1    Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 10 of 11
Case 18-59231-wlh   Doc 1    Filed 06/04/18 Entered 06/04/18 12:56:08   Desc
                            Petition Page 11 of 11
